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               IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEVADA

UNITED STATES OF AMERICA,
Plaintiff,
v.                                          CASE NO.: 2:98-cv-00531-LRH-
VCF
CLIVEN D. BUNDY,
Defendant.

STIPULATED MOTION FOR EXTENSION OF TIME TO FILE REPLY

COMES NOW Defendant Cliven Bundy, by and through counsel, with this
Stipulated Motion for Extension of Time to File Reply the Response of the United
States.

The United States does not object to a continuance so that Defendant’s Reply is
due January 12, 2018.
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RESPECTFULLY SUBMITTED,

/s/Roger I. Roots, esq.
Counsel for Cliven Bundy



                           CERTIFICATE OF SERVICE

I, Roger I. Roots, certify that on 12/27/2017 I caused this document to be uploaded
to the Court’s electronic filing system, thereby serving all parties with copies of
this document.

/s/ Roger I. Roots                    Dated 12/27/2017




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